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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION


LARRY CARTER,

             Petitioner,                           CIVIL ACTION NO.: CV215-149

      V.


UNITED STATES OF AMERICA,
                                                   (Case No. CR214-14)

             Respondent.


     ORDER and MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION

      Movant Larry Carter ("Carter"), who is currently incarcerated at the Federal

Correctional Complex in Petersburg, Virginia, filed a Motion to Vacate, Set Aside, or

Correct his Sentence pursuant to 28 U.S.C. § 2255. (Doc. No. 1). Carter also filed a

Motion for Evidentiary Hearing. (Doc. No. 10). Respondent filed Responses to both of

Carter's Motions. (Doc. Nos. 7, 11). Carter's Motion for Evidentiary Hearing is

DENIED.    For the reasons which follow, I RECOMMEND that Carter's Section 2255

Motion be DISMISSED.

                            STATEMENT OF THE CASE

      Carter was convicted in this Court, after entry of a guilty plea, to conspiracy to

distribute controlled substances, in violation of 21 U.S.C. §§ 846 and 841. The

Honorable Lisa Godbey Wood sentenced Carter to 235 months' imprisonment, which

was to run consecutively to the term of imprisonment imposed during the revocation

proceedings of Carter's term of supervised release in Case Number 2:04-cr-2. J.,
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United States v. Carter, 2:14-cr-14 (S.D. Ga. June 25, 2015), ECF No. 338. Carter did

not file a direct appeal.

       In his Motion,. Carter contends his attorney rendered ineffective assistance of

counsel because his counsel failed to file a direct appeal, despite Carter's instruction to

do so. (Doc. No. 1, p. 5). Carter asserts he could not file an appeal himself because

ineffective assistance claims are not cognizable on appeal. (Id. at p. 12). Carter also

asserts that he should not have received a sentence enhancement based on his

leadership role. (Doc. No. 1-1, pp. 4-5).

       The Government contends the collateral attack waiver in Carter's plea agreement

bars his claims.

                      DISCUSSION AND CITATION TO AUTHORITY

I.     Carter's Request for an Evidentiary Hearing

       Section 2255 does not require that the Court hold an evidentiary hearing if "the

motion and the files and records of the case conclusively show that the prisoner is

entitled to no reliefi.]" Winthrop-Redin v. United States, 767 F.3d 1210, 1216 (11th Cir.

2014) (quoting 28 U.S.C. § 2255(b)). "A hearing is not required on patently frivolous

claims or those which are based upon unsupported generalizations. Nor is a hearing

required where the petitioner's allegations are affirmatively contradicted in the record."

Holmes v. United States, 876 F.2d 1545, 1553 (11th Cir. 1989) (citation omitted).

Moreover, a petitioner is not entitled to an evidentiary hearing where he asserts "merely

conclusory allegations unsupported by specifics or contentions that in the face of the

record are wholly incredible." Teiadà v. Dugger, 941 F.2d 1551, 1559 (11th Cir. 1991)

(citation omitted); see also Lynn v. United States, 365 F.3d 1225, 1238-39 (11th Cir.



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2004). Because Carter's claims lack merit as a matter of law or are otherwise

affirmatively contradicted by the record, no evidentiary hearing is necessary, and

Carter's request for such a hearing is DENIED.

II.      Whether the Waiver Provision in his Plea Agreement Bars Carter's Claims

         The Government alleges the appellate waiver provision contained in Carter's

plea agreement bars Carter's ineffective assistance of counsel and sentencing claims.

The Government asserts Carter, as part of his plea agreement, waived his right to

attack his conviction and sentence on any ground. (Doc. No. 7,                     p. 10). The

Government contends none of the exceptions contained in the waiver provision apply,

as Chief Judge Wood did not sentence Carter above the statutory maximum or the

advisory Guidelines range. In addition, the Government avers Carter "explicitly and

irrevocably instructed his attorney not to file an appeal on his behalf."           (j4 at p. 12)

(emphasis in original). The Government also avers that, if the Court deems the waiver

to be inapplicable, the record belies Carter's self-serving allegations that his counsel

failed to file an appeal as requested.

         It is well-settled that a waiver of appeal' provision is enforceable if the waiver is

knowing and voluntary. United States v. Johnson, 541 F.3d 1064, 1066 (11th Cii. 2008)

(citing United States v. Weaver, 275 F.3d 1320, 1333 (11th Cir. 2001)). '"To establish

the waiver's validity, the government must show either that (1) the district court

specifically questioned the defendant about the provision during the plea colloquy, or (2)



1
 "Appeal" refers to the right to appeal or contest, directly or collaterally, a sentence. United
States v. Bushert, 997 F.2d 1343, 1350 & n,17 (11th Cir. 1993). Case law concerning waiver of
a direct appeal has also been applied to waiver of the right to collateral proceedings. Vaca-Ortiz
v. United States, 320 F. Supp. 2d 1362, 1365-67 (N.D. Ga. 2004).


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it is manifestly clear from the record that the defendant fully understood the significance

of the waiver." United States v. Mottola, 394 F. App'x 56T . 568 (11th Cir. 2010)

(quoting United States v. Benitez-Zapata, 131 F.3d 1444, 1446 (11th Cir. 1997)). "A

waiver of the right to appeal includes a waiver of the right to appeal difficult or debatable

legal issues—indeed, it includes a waiver of the right to appeal blatant error." United

States v. Howle, 166 F.3d 1166, 1169 (11th Cir. 1999). "Waiver would be nearly

meaningless if it included only those appeals that border on the frivolous." Brown v.

United States, 256 F. App'x 258, 261-62 (11th Cir. 2007).

       Carter and his attorney, Ron Harrison, were able to negotiate a plea agreement

with the Government whereby Carter agreed to plead guilty to Count 1 of the

Indictment. A "Waiver of Appeal" provision was included as part of the plea agreement.

This section provides:

       Defendant entirely waives his right to a direct appeal of his conviction.
       The defendant agrees to waive his right to appeal the sentence. The only
       exceptions are that the Defendant may file a direct appeal of his sentence
       if (1) the court enters a sentence above the statutory maximum, (2) the
       court enters a sentence above the advisory Sentencing Guidelines range
       found to apply by the court at sentencing; or (3) the Government appeals
       the sentence. Absent those exceptions, the Defendant explicitly and
       irrevocably instructs his attorney not to file an appeal.

Plea Agreement, United States v. Carter, 5:14-cr-14 (S.D. Ga. Oct. 1, 2014), ECF No.

251, p. 8 (emphasis supplied).

       Carter appeared before Chief Judge Wood for his change of plea, or Rule 11,

proceeding. Chief Judge Wood addressed Carter and informed him that he: did not

have to plead guilty; had the right to persist in a plea of not guilty; had a constitutional

right to representation by an attorney at every phase of his case; maintained a




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presumption of innocence if he proceeded to trial; had the right to a public trial by jury;

would have the right to confront the Government's witnesses and to see its evidence;

would have the right to call witnesses and present evidence; and had the right to not

incriminate himself by testifying. Change of Plea Hr'g Tr., United States v. Carter, 2:14-

cr-14 (S.D. Ga. Oct. 1, 2014), pp. 7-8. Chief Judge Wood then informed Carter that, if

he pleaded guilty and she accepted his plea, he would waive, or give up, all of the rights

associated with a trial by jury. (Id. at p. 8). Carter stated he and Mr. Harrison read and

reviewed the Indictment together, discussed the plea agreement, discussed the facts

and law applicable to the case, and discussed what would occur during the Rule 11

hearing. Carter also stated Mr. Harrison discussed, in general terms, the application of

the advisory Sentencing Guidelines. Carter further stated he was satisfied with Mr.

Harrison's representation and had no complaints about him whatsoever. (ii at pp. 9-

10). Even though Carter and Mr. Harrison had reviewed the Indictment together, Chief

Judge Wood reviewed the counts of the Indictment and the essential elements of the

crimes for which he was charged that the Government would have to prove.         (L   at pp.

10-13). Chief Judge Wood advised Carter, "Now the maximum penalty that I could

ever impose for a violation of that particular statute, 21 U.S.C. § 846, is not more than

twenty years in prison, a fine of not more than a million dollars, at least three years[']

supervised release, and a one hundred dollar special assessment." (Ld. at p. 13).

Carter expressed his understanding of the maximum penalty he could face. (Ld. at

p. 14). Chief Judge Wood then advised Carter that the advisory Sentencing Guidelines

provide for a range for his sentence, and these Guidelines allow for certain factors, such

as his conduct in the crime to which he was pleading guilty, his criminal history, and his



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acceptance of responsibility. (Id. at pp. 14-15.) Carter indicated his understanding of

these matters. (   at p. 15.) Chief Judge Wood inquired whether anyone had promised

him an exact sentence, and Carter said no one had. Chief Judge Wood stated, "That's

good because at this point nobody can promise you an exact sentence. All they can do

is give you their best estimate about what your sentence is going to be. And their best

estimate would only be that, an estimate, and it would in no way be binding upon the

Court." (kL)

      In addition, Chief Judge Wood asked the United States Attorney ("AUSA") to

summarize the provisions of the plea agreement. AUSA Daniel Crumby stated:

      The Government agrees not to object that Mr. Carter receive three levels
      for acceptance of responsibility. At the time of sentencing, we will move to
      dismiss the remaining counts of the Indictment that are currently pending
      against him. We will also evaluate whether his cooperation rises to the
      level of 'substantial assistance' and whether he qualifies for a motion for
      downward departure. In exchange, Mr. Carter agrees to the following: He
      agrees to plead guilty to Count One of the Indictment, acknowledge the
      truth of the factual basis enclosed with the plea agreement, to pay the
      special assessment due at sentencing, and provided full, complete,
      candid, and truthful information to the Government.

(   at p. 16). Chief Judge Wood asked Carter if AUSA Crumby's summarization was

consistent with the plea agreement he signed, and Carter stated it was. Carter also

stated he read the agreement and Mr. Harrison answered any questions he had before

he signed the agreement. (j at p. 17.) Chief Judge Wood then addressed Carter:

      As mentioned by your counsel, the plea agreement that you are proposing
      contains a waiver of appellate rights. Specifically, it states: Defendant
      entirely waives his right to a direct appeal of his conviction. And the
      Defendant agrees to waive his right to appeal the sentence.

      Now there are three exceptions to that waiver. That is, if and only if one of
      these three things were to occur you would get a direct appeal right.
      Number one, if I were to sentence you above the statutory maximum, then
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          you would get to appeal that directly. Number two, if I were to sentence
          you above the advisory guideline range as found by me, you would get to
          appeal that directly. Or number three, if the Government were to file a
          direct appeal, then you too could file a direct appeal.

          But outside of those three occurrences, by virtue of the plea agreement
          that you are proposing, you waive all other appellate rights. Do you
          understand that?

(Id   .
          pp.
                17-18). Carter stated he understood this provision. Chief Judge Wood also

noted the plea agreement contained a collateral attack waiver which precluded Carter

from attacking his conviction and sentence on any ground and by any method, including

a Section 2255 motion. Carter expressed his understanding of that provision. (Id. at p.

18).

          Chief Judge Wood then asked Carter whether he wished to still plead guilty to

Count One of the Indictment because he was in fact guilty of that count, and he

answered in the affirmative. (Id at p. 19). Chief Judge Wood also asked Carter

whether he understood the rights and privileges he was waiving if she accepted his

plea, and he said he did. Chief Judge Wood determined Carter's plea was "knowing"

and "voluntary", and he participated in the Rule 11 proceedings "intelligently." (jj)

Carter agreed. The Government provided a factual basis for Carter's plea of guilty. (Id

at pp. 20-26.) After hearing from Carter again, during which time he agreed with the

Government's factual basis, Chief Judge Wood accepted Carter's plea and adjudged

him guilty of Count One of the Indictment. Chief Judge Wood informed Carter a

probation officer would conduct a presentence investigation and issue a Pre-Sentence

Investigation report ("PSI"), which would be disclosed to the defense and Government,

and that she would schedule a sentencing hearing. (Id. at p. 27.)




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       At the sentencing hearing, Harrison raised a number of objections to certain

aspects of the PSI, most notably the leadership role enhancement. Sentencing Hr'g Tr.,

United States v. Carter, 2:14-cr-14 (S.D. Ga. June 24, 2015). After listening to the

Government's witnesses' testimony, an audio recording, and Harrison's arguments in

this regard, Chief Judge Wood overruled Harrison's objection. (Id at pp. 6-8, 11-83,

88). In so doing, Chief Judge Wood declared,

       I find with little difficulty in ruling that [the four-level aggravating role
       adjustment] is a proper enhancement that is given. The preponderance of
       the credible evidence shows that, of course, this activity involved more
       than five people, and it was extensive, and with respect to this particular
       defendant's relative role to the other participants, I have little trouble
       finding that he did, in fact, direct the activities of Mr. Doomes, that it was
       not simply a partnership or some sort of sharing but the evidence adduced
       today shows that that four-level enhancement is warranted. He was a
       leader in this activity.

(Id at p. 91). Chief Judge Wood found Carter's total offense level was 31, and he had a

criminal history category of VI, which resulted in a Guidelines' range of 188 to 235

months of imprisonment. (Id. at p. 93). Chief Judge Wood considered the PSI and the

addendum thereto, the sentencing memorandum, the testimony of all of the witnesses

during the sentencing hearing, the arguments which were made (including sentence

disparity), and the sentencing factors set forth in 18 U.S.C. § 3553 before pronouncing

Carter's 235-month sentence, which was to run consecutively to the term of

imprisonment imposed upon revocation in Case Number 2:04-cr-2. (Id. at pp. 98-99).

In closing, Chief Judge Wood reminded Carter that, with limited exceptions, he waived

his appellate and collateral attack rights and asked Harrison to execute and file the

notice of post-conviction obligation form. (Id. at p. 101).
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          As directed, Harrison and Carter executed the Post-Conviction Consultation

Certification. United States v. Carter, 2:14-cr-14 (S.D. Ga. June 25, 2015), ECF No.

337. In this Certification, the blocks indicating Carter decided not to file an appeal and

that Harrison explained the consequences of failing to do so are marked with an "X".

(!d   .   pp. 2-3.)

          The record clearly indicates that Carter understood the implications of entering a

guilty plea, as well as the meaning of the appeal waiver condition. In addition, Chief

Judge Wood specifically questioned Carter about this condition during the Rule 11

hearing. Mottola, 394 F. App'x at 568. Carter's sentence of 235 months' imprisonment

fell within the 188 to 235 months Guidelines' range, as found by Chief Judge Wood, and

below the statutory maximum of 20 years' imprisonment he potentially faced. To be

clear, the waiver provision allowed for Carter to appeal if "the court enters a sentence

above the statutory maximum," or "a sentence above the advisory Sentencing

Guidelines range found to apply by the court at sentencing[.J" Plea Agreement, United

States v. Carter, 5:14-cr-14 (S.D. Ga. Oct. 1, 2014), ECF No. 251, p. 8. Carter was not

sentenced to a term of imprisonment higher than the advisory Guidelines range Chief

Judge Wood found to be appropriate, nor was he sentenced above the statutory

maximum sentence. It appears that Carter's claim clearly falls within the limited waiver

condition of his plea agreement, and he is not entitled to his requested relief. In

addition, Carter certified that he did not wish to file an appeal. Thus, Carter's Motion

should be DISMISSED.
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                                  CONCLUSION

        Based on the foregoing, it is my RECOMMENDATION that Carter's Motion to

Vacate, Set Aside, or Correct his Sentence, filed pursuant to 28 U.S.C. § 2255, be

DISMISSED. Carter's Motion for Evidentiary Hearing is DENIED.
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        SO ORDERED and REPORTED AND RECOMMENDED, this                  day of July,

2016.




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                                         MES E. GRAHAM
                                         IITED STATES MAGISTRATE JUDGE




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